Case 1:24-cv-20299-CMA Document 18 Entered on FLSD Docket 01/26/2024 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                           CASE NO. 24-20299-CIV-ALTONAGA/Reid

  GRACE ROMERO,

         Plaintiff,
  v.

  THE CLOROX COMPANY,

        Defendant.
  __________________________/

                                               ORDER

         THIS CAUSE came before the Court on the Notice of Substitution of Counsel and

  Directions to the Clerk to Update Attorney Information [ECF No. 17]. Several issues arise from

  counsel’s filing.

         Local Rule 11.1(d)(3) of the U.S. District Court for the Southern District of Florida

  provides:

         Except as provided by subpart (B) herein, no attorney shall withdraw the
         attorney’s appearance in any action or proceeding except by leave of Court after
         notice served on the attorney’s client and opposing counsel. A motion to
         withdraw shall include a current mailing address for the attorney’s client or the
         client’s new or remaining counsel.

  Id. Under Local Rule 7.1 (A)(2), certain motions identified in Local Rule 7.1 (A)(1) must be

  accompanied by a proposed order. Additionally, under 3I(6) of the CM/ECF Administrative

  Procedures, all proposed orders shall be filed as an attachment to a motion, notice, or other filing.

  The proposed document must also be e-mailed to the judge in Word format to the email address

  of the judge (the Judge’s email address is listed in the CM/ECF Administrative Procedures).

  Counsel has failed to comply with these rules.
Case 1:24-cv-20299-CMA Document 18 Entered on FLSD Docket 01/26/2024 Page 2 of 2

                                                      CASE NO. 24-20299-CIV-ALTONAGA


         Accordingly, it is

         ORDERED AND ADJUDGED that the Notice of Substitution of Counsel and

  Directions to the Clerk to Update Attorney Information (Motion) [ECF No. 17] is DENIED.

         DONE AND ORDERED in Miami, Florida, this 26th day of January, 2024.




                                             _______________________________________
                                             CECILIA M. ALTONAGA
                                             CHIEF UNITED STATES DISTRICT JUDGE

  cc:    counsel of record




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